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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

ODELL EDWARDS, et. al.,                           §
     Plaintiffs                                   §
                                                  §
v.                                                §       Cause No. 3:17-CV-01208-M
                                                  §
ROY OLIVER, et al.,                               §
     Defendants.                                  §

                REPLY TO PLAINTIFF’S RESPONSE TO THE CITY’S
     12(b)(6) MOTION TO DISMISS EDWARDS’ FOURTH AMENDED COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW Defendant the City of Balch Springs, Texas (herein referenced as “City”

or “Defendant”) who makes and files this Reply to Plaintiff’s Response1 to the City’s Motion to

Dismiss Plaintiff’s (the Edwards Plaintiff) Fourth Amended Complaint2 (“Complaint”) pursuant

to F.R.C.P. 12(b)(6). For same, Defendant would state the following:

       1.         Plaintiff’s Response clarifies that no claim is asserted as to the Balch Springs

Police Department as a separate entity. Thus, to the extent such a claim may be found within the

Fourth Amended Complaint due to the wording of same, an order of dismissal would be

appropriate to clarify the record.

       2.         In the introduction section of his Response, Plaintiff presents argument referring

to a psychological evaluation; alleged failures to train, supervise or discipline; alleged excessive

force conduct; and an alleged traffic incident.3 These matters are presented as mere argument

and lack factual support in the Complaint; thus, they are not properly before the Court on this


       1
           Court’s Docket, #148.
       2
           Id. #123.

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Motion.4 Additionally, the Response argues the existence of a “long standing record” of alleged

inadequate training and of not preventing excessive force “claims”.5 These allegations likewise

lack any factual support in the Amended Complaint.                 There is also no allegation as to how the

failure to prevent “claims” can operate to cause the incident underlying this lawsuit.                         The

Response argues that a pattern of similar violations6 is alleged by the Amended Complaint when,

as discussed below, no similar prior incidents are presented. The response further argues that

firing at moving vehicles violates unspecified standards7 – another allegation not found in the

Amended Complaint. In the Response,8 Plaintiff relies on the Brosseau9 case for the argument

the shooting incident was foreseeable to the City. However, this was a case which denied

qualified immunity to an officer in a shooting case10 and is inapposite to the municipal liability

issues herein.

        3.       To clarify, Defendant’s Motion is directed to any due process claim asserted

individually by Plaintiff Edwards based upon the loss of the parent-child relationship11 rather

than directed toward damages asserted under the Texas Wrongful Death claim.                           Further, the

City’s motion likewise is directed toward any claims of the minor plaintiffs V.A. and K.E. which

are based upon the alleged deprivation of the Constitutional rights of the deceased.12



        3
           Id., pp. 7-8.
        4
           Baker v. Putnal, 75 F.3d 190, 196 (5th Cir. 1996); Spivey v. Robertson 197 F.3d 772, 774 (5th Cir. 1999)
cert. denied, 530 U.S. 1229 (2000). See also, Morin v. Caire, 77 F.3d 116, 120 (5th Cir. 1996); Jackson v.
Procunier, 789 F.2d 307, 309 (5th Cir. 1986).
         5
           Response, docket #148, p. 12.
         6
           Id., p. 14.
         7
           Id. p. 15.
         8
           Id., p. 16.
         9
           Brosseau v. Haugen, 543 U. S. 94 (2004).
         10
            Id., at 543 U. S. at 201.
         11
            City’s Brief in Support of it’s Motion to Dismiss. Docket #138, pp. 3-4.
         12
            Id.

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         4.       Plaintiff’s discussion13 of the pleading standard applicable to a municipal liability

claim is essentially correct; however, Plaintiff understandably omits reference to the requirement

that the claim of municipal liability must be supported by specific factual pleading.14 However,

Plaintiff’s reliance15 on the Leatherman case is misplaced in this instance.16 Further, the Johnson

v. City of Shelby case cited by Plaintiff17 held that a complaint was not deficient for failure to

identify the legal theory upon which the suit was based, not for failure to factually support the

claim.18 Contrary to the argument found on p. 12 of Plaintiff’s Response, the City’s Motion

points out the inadequacy of Plaintiff’s Amended Complaint arising from a lack of factual

pleading to support the existence of the policies, practices and customs allege and a lack of

factual support for imputing knowledge to any policymaker sufficient to support an inference of

deliberate indifference rather than the failure to identify a policymaker. 19 The failure to allege

facts supporting a claim of knowledge by policymakers is fatal to Plaintiff’s claim. “A city

cannot be liable for an unwritten custom unless ‘[a]ctual or constructive knowledge of such

custom’ is attributable to a city policymaker.”20 The Amended Complaint “invites no more than


         13
             Plaintiff’s Response, Docket #148, p.3.
         14
             City’s Brief in Support of its Motion to Dismiss. Docket #138, p. 2, nn. 3-9.
          15
             Plaintiff’s Response, Docket #148, p.10.
          16
             Leatherman involved the question of whether the pleading standard applicable to the qualified immunity
defense of an individual was applicable to a municipal Defendant which does not enjoy that defense. Leatherman v.
Tarrant Co. Narcotics Intelligence & Coordination Unit, 507 U.S. 163, 164 (1993). After the Leatherman case, the
Supreme Court handed down its opinions in the Twombly and Iqbal cases. See, Defendant’s Brief, Docket # 138,
nn. 3, 6.
          17
             Plaintiff’s Response, Docket #148, p.8.
          18
             135 S. Ct. 346, 347 (2014).
          19
              See generally, id. at pp. 4-11. Even though the policymaker allegations are also found wanting.
“Unfortunately, unlike the plaintiff in Flanagan, Plaintiff here has neglected to provide factual assertions sufficient
to create a reasonable inference that the Chief of Police has been delegated certain authority. Moreno v. City of
Dallas, 2015 WL 3890467, *4. (N.D. Tex. 2015).
          20
             Pena v. City of Rio Grande City, 879 F.3d 613, 623 (5th Cir. 2018) citing Hicks-Fields v. Harris County,

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speculation that any particular policymaker … knew about the alleged custom. [citation omitted]

Without more, [the] allegation fails the second prong of § 1983 as well.”21                       “Actual or

constructive knowledge of the unconstitutional custom also must be attributable to the …..

governing body or to the official to whom policy-making authority has been delegated.”22

        5.       The allegation of a “shoot first” policy23 of the City is, like most of the allegations

before the Court, a bare assumption and speculation with no factual support found in this record.

        6.       The Response argues that a pre-employment psychological exam indicated

adverse information about Oliver and further argues, in conclusory fashion, that the exam

contents were contained in a test “the City administers” and were known to the City

policymakers.24      The Complaint contains no factual allegations supporting these arguments.

There is simply no factual allegation before the Court to support the claim of knowledge by

policymakers of this alleged content of a psychological exam.

        7.       The Response argues that the allegation of a practice or custom is supported by a

complaint of misconduct in a court case;25 by an incident of being “disrespectful”; by an

unseemly post on a facebook page; and by an incident shortly before the incident underlying this

suit where Oliver allegedly “pulled a gun” on a motorist.26 Additionally, the Response argues

the allegation is supported by two prior Taser incidents – one of which allegedly involved

someone being “killed” with a Taser.27              Only one of these alleged incidents involve an


860 F.3d 803, 808 (5th Cir. 2017).
        21
           Id.
        22
           Flanagan v. City of Dallas, 48 F. Supp. 3d 941, 949 (N. D. Tex. 2014) (J. Lynn).
        23
           Plaintiff’s Response, Docket #148, p.16.
        24
           Response, docket #148, p. 18.
        25
           The Amended Complaint recognizes that Oliver was disciplined for this incident. Docket #110-1, p. 9.
        26
           Response, docket #148, p. 14.
        27
            Id., p. 15. Although outside of the pleadings, Defendant respectfully suggests the Court may take

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allegation of deadly force28 and that one is questionable since it claims to have involved the use

of a non-lethal Taser.       Thus, the Amended Complaint, and Plaintiff’s Response to Defendant’s

Motion, lacks the allegation of “similar” past incidents necessary to support a claim of a practice

or custom based upon past incidents.29

        8.       Plaintiff mistakenly argues that his training theory allegation fits within the

“single incident” exception to the general rule that a pattern of similar incidents is necessary

before a practice or custom may be found.30 The single incident exception “is generally reserved

to those cases in which the government actor was provided no training whatsoever.” 31 Such is

not the case here, even according to Plaintiff’s allegations.

        9.       Even assuming, arguendo, that Plaintiff’s allegations regarding Oliver were true

and that a City policymaker allegedly knew of them at the time of Oliver’s hiring and tenure,

they fall far short of establishing that the specific shooting in this case was a highly predictable

consequence of any alleged hiring and unspecified failure to train decisions.32 These alleged red

flags are irrelevant to Plaintiff’s claims, because they do not constitute “an abundance of

evidence about the proclivities of the particular officer” to use excessive deadly force. 33 Indeed,

the prior incidents relied upon in the Amended Complaint and Response all involve dissimilar

alleged occurrences. “[P]rior incidents “cannot simply be for any and all ‘bad’ or unwise acts,

but rather must point to the specific violation in question. That is, notice of a pattern of similar


judicial notice of the fact that Tasers are non-lethal control devices.
          28
             Again, this allegation is highly questionable since no firearm used was claimed – only the use of a non-
lethal Taser.
          29
             Burge v. St. Tammany Parish, 336 F.3d 363, 370 (5th Cir. 2003), Flanagan v. City of Dallas, supra.
          30
             Response, docket #148, p. 15.
          31
             Pena v. City of Rio Grande City, supra at 624.
          32
             See, Rivera v. Bonner, 691 Fed. Appx. 234, 237 (5th Cir. 2017).

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violations is required.”34        Thus, the Amended Complaint lacks specific factual pleading of

alleged prior similar incidents necessary to state a claim of municipal liability based upon an

alleged custom or practice.

         10.      The section of the Amended Complaint quoted in the Response35 appears to

present a type of “but for” argument which the Supreme Court has held insufficient to meet the

causation requirement in a civil rights municipal liability context.                    Plaintiff alleges that the

shooting would never have happened had the City fired Oliver beforehand.36 The Supreme

Court rejected this type of reasoning when it held:

        Obviously, if one retreats far enough from a constitutional violation some municipal
       “policy” can be identified behind almost any such harm inflicted by a municipal
       official; for example, Rotramel would never have killed Tuttle if Oklahoma City did
       not have a “policy” of establishing a police force. But Monell must be taken to
       require proof of a city policy different in kind from this latter example before a claim
       can be sent to a jury on the theory that a particular violation was “caused” by the
       municipal “policy.” At the very least there must be an affirmative link between the
       policy and the particular constitutional violation alleged. … Such an approach
       provides a means for circumventing Monell ‘s limitations altogether. Proof of a
       single incident of unconstitutional activity is not sufficient to impose liability under
       Monell, unless proof of the incident includes proof that it was caused by an existing,
       unconstitutional municipal policy, which policy can be attributed to a municipal
       policymaker. Otherwise the existence of the unconstitutional policy, and its origin,
       must be separately proved. But where the policy relied upon is not itself
       unconstitutional, considerably more proof than the single incident will be necessary
       in every case to establish both the requisite fault on the part of the municipality, and
       the causal connection between the “policy” and the constitutional deprivation. 37



         33
            Hobart v. Estrada, 582 Fed. Appx. 348, 358 (5th Cir. 2014).
         34
            Moreno v. City of Dallas, supra at *7, citing Estate of Davis ex. rel. McCully v. City of N. Richland Hills,
406 F.3d 375, 383 (5th Cir. 2005) (citations omitted) (emphasis added).
         35
            Docket #148, p. 17.
         36
            Id.
         37
            City of Oklahoma City v. Tuttle, 471 U.S. 808, 105 S. Ct. 2427, 2436, 85 L. Ed. 2d 791 (1985) (footnotes
omitted) (emphasis added).

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       11.       The argument that an alleged failure to train in use of force and other areas not

applicable to the incident in question lacks factual support.             What training was not provided?

How did the unspecified failure cause the incident? What knowledge was there on the part of

policymakers indicating a need, if any, for further training?                   Furthermore, these training

allegations may not be combined with hiring or discipline allegations in an effort to claim the

City should be liable based upon a plethora of disconnected issues. “[E]ach of the cited customs

concerns a discrete police department program or area of decision-making, and each invokes

separate aspects of the policy issue. Finally, each alleged policy may have had a distinct impact

as the moving force of [Plaintiff’s] … claim. In Bryan County, for example, the Court carefully

distinguished between municipal liability for failure to train and liability for a single negligent

hiring decision.”38 Herein, Plaintiff merely asserts claims and arguments, mostly unsupported

factually, of any “bad” aspect of the City’s Police Dept. which can be alleged in the apparent

hope that the cumulative effect will “be enough to raise a right to relief above the speculative

level...”39    Defendant respectfully submits the effort falls short and Defendant’s motion to

dismiss should be granted.

       12.       The Response seeks leave to amend Plaintiff’s Complaint yet again to correct

defects in the Amended Complaint.40              Plaintiff has pleaded five times to date.41 Defendant

submits that so many amendments should compel this Honorable Court to find that Plaintiff has



        38
           Piotrowski v. City of Houston, 237 F.3d 567, 581 (5th Cir. 2001) referring to Bryan County, 520 U.S. at
398, 117 S.Ct. at 1391.
        39
           Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 1964-65 (2007).
        40
           Docket #148, p. 22.
        41
           Court’s Docket ##1, 11, 12, 31 and 123.

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pleaded his best case such that further amendment is futile42 and leave to amend should therefore

be denied.

       WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that it go

hence without day, recover costs, including reasonable attorney’s fees, pursuant to 42 U.S.C.

1988, in this behalf expended and for such other and further relief, both general and special, to

which Defendant may be justly entitled.

                                                              Respectfully submitted,

                                                              By:   /s/ Joe C. Tooley
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                                                              ATTORNEY FOR DEFENDANT
                                                              CITY OF BALCH SPRINGS, TEXAS.


                                      CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record in accordance with the Federal Rules of Civil Procedure,
modified by this Court’s ECF Orders, on this 05th day of November, 2018.

                                                                  /s/ Joe C. Tooley




       42
            Jacquez v. Procunier, 801 F.2d 789, 793 (5th Cir. 1986).

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